          Case 1:22-cv-00051-LJV Document 10 Filed 09/26/22 Page 1 of 1




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


JACLYN COHEN
                                                      STIPULATION OF DISCONTINUANCE
                               Plaintiff              AND ORDER OF DISMISSAL

v.
                                                      Civil Action No. 1:22-cv-00051
UNITEDHEALTHCARE

                               Defendant


               IT IS HEREBY STIPULATED AND AGREED, by and between the

undersigned, the attorneys of record for the parties herein, that whereas no party hereto is an infant

or incompetent person for whom a committee has been appointed and no person not a party has an

interest in the subject matter of the action, the above-entitled action be, and the same hereby is

discontinued, on the merits, with prejudice, without costs to either party as against the other.


DATED:         Buffalo, New York
               September 26, 2022

 HURWITZ & FINE, P.C.                              STRADLEY RONON STEVENS & YOUNG,
                                                   LLP



 Dan D. Kohane, Esq.                               Lijue T. Philip, Esq.
 Attorneys for Plaintiff                           Attorneys for Defendant
 1300 Liberty Building                             100 Park Avenue Suite 2000
 Buffalo, New York 14202                           New York, New York 10017
 (716) 849-8900                                    (212) 812-4124
 ddk@hurwitzfine.com                               lphilip@stradley.com



SO ORDERED:
